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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 BERKENHOFF GMBH,

                                Plaintiff,

          v.                                     Civil Action No. 1:18-cv-01873

 OPEC ENGINEERING CO., LTD.                      Honorable Martha M. Pacold
 OPECMADE, INC.

                                Defendant.


               MOTION TO WITHDRAW APPEARANCE OF IAN M. MOODIE

       Pursuant to Local Rule 83.17, Plaintiff Berkenhoff GmbH (“Berkenhoff”) requests leave

to withdraw the appearance of Ian M. Moodie as counsel for Berkenhoff. In support thereof,

Berkenhoff states as follows:


       1.       On March 14, 2018, Mr. Moodie entered an appearance on behalf of Berkenhoff as

an associate of Jenner & Block LLP.

       2.       On June 17, 2019, Berkenhoff filed a Notice of Withdrawal of Mr. Moodie’s

appearance.

       3.       Mr. Moodie is no longer an associate of Jenner & Block LLP.

       4.       Berkenhoff will continue to be represented by the undersigned counsel of record

from Jenner & Block LLP.

       5.       Neither party will be prejudiced by the withdrawal of the appearance of Mr.

Moodie.
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       WHEREFORE, Berkenhoff respectfully requests that the Court enter an order granting

leave to withdraw the appearance of Ian M. Moodie as counsel for Berkenhoff.




Dated: September 28, 2020                         Respectfully Submitted,

                                                  BERKENHOFF GMBH

                                                  By: /s/ Benjamin J. Bradford

                                                  Reginald J. Hill
                                                  Benjamin J. Bradford
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                                                  Attorneys for Plaintiff Berkenhoff GMBH




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                               CERTIFICATE OF SERVICE


       I, Benjamin J. Bradford, an attorney at the law firm of Jenner & Block LLP, certify that on

September 28, 2020, the foregoing Motion to Withdraw Appearance of Ian M. Moodie was

electronically served on counsel of record via the Court’s ECF system.




                                            /s/ Benjamin J. Bradford
                                                Benjamin J. Bradford




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